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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT, f/k/a                :   CIVIL ACTION NO. 1:16-CV-2145
JULIE ELLEN BARTELS and                    :
FREDERICK L. BARTELS, JR.,                 :   (Chief Judge Conner)
individually and as administrators of      :
the estate of Abrielle Kira Bartels,       :
                                           :
                    Plaintiffs             :
                                           :
             v.                            :
                                           :
THE MILTON HERSHEY SCHOOL,                 :
et al.,                                    :
                                           :
                    Defendants             :

                                      ORDER

      AND NOW, this 17th day of September, 2018, upon consideration of

defendants’ motion (Doc. 195) for leave to file documents under seal, it is hereby

ORDERED that the motion (Doc. 195) is GRANTED. It is further ORDERED that

defendants’ statement of appeal and brief in support thereof, and any response

thereto, be filed under seal.




                                               /S/ CHRISTOPHER C. CONNER
                                               Christopher C. Conner, Chief Judge
                                               United States District Court
                                               Middle District of Pennsylvania
